
64 N.W.2d 296 (1954)
In re THORPE'S ESTATE.
WAKEMAN et al.
v.
BULTMAN et al.
No. 9403-a.
Supreme Court of South Dakota.
May 8, 1954.
Bogue &amp; Masten, Canton, for contestants-appellants.
T. R. Johnson, Sioux Falls, for proponents-respondents.
PER CURIAM.
The probate of the purported will of Ada Thorpe, deceased, was opposed on the grounds that (1) she was not competent to make a will, (2) it was not duly executed and attested, and (3) the signing of the instrument was accomplished by undue influence and fraud. The evidence was conflicting upon all of these issues. These conflicts were resolved by the trial court in favor of the proponents, and the will was admitted to probate.
*297 The ultimate issue on appeal is whether the evidence is sufficient to sustain the findings of the trial court. For us to decide that the evidence is insufficient to sustain any one of those findings, we would be compelled to conclude the trial court acted unreasonably in believing the testimony of the proponents and their witnesses. We find no sound basis for such a conclusion in the record. Therefore, the judgment must be affirmed. Houck v. Hult, 63 S.D. 290, 258 N.W. 142; Rhode v. Farup, 67 S.D. 437, 293 N.W. 632, and Scott v. Liechti, 70 S.D. 89, 15 N.W.2d 1.
All the Judges concur.
